Case 2:22-cv-01527-DAD-AC Document 61-6 Filed 03/06/24 Page 1 of 14




                     EXHIBIT 5
Case 2:22-cv-01527-DAD-AC Document 61-6 Filed 03/06/24 Page 2 of 14




                          In The Matter Of:
                              LONG vs.
                             FERNANDEZ




                          KATHIE MUSE
                         November 13, 2023




                      Challe, Fisher & Morfin
                         1828 South Street
                     Redding, California 96001
                           (530)246-0942
                         cfmdepos@att.net




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     Case 2:22-cv-01527-DAD-AC Document 61-6 Filed 03/06/24 Page 3 of 14




 1                    UNITED STATES DISTRICT COURT
 2                   EASTERN DISTRICT OF CALIFORNIA
 3                           SACRAMENTO DIVISION
 4   E.L., a minor, by and through               )
     her general guardian, JESSICA               )
 5   LONG; JESSICA LONG, an                      )
     individual,                                 )
 6                                               )
                           Plaintiffs,           )
 7                                               )   NO. 2:22-cv-01527-
         vs.                                     )   DAD-AC
 8                                               )
     LIEUTENANT JERRY FERNANDEZ,                 )
 9   individually and in his                     )
     individual capacity as Sheriff              )
10   for the County of Shasta;                   )
     DETECTIVE JACOB DUNCAN,                     )
11   individually and in his                     )
     individual capacity as Sheriff              )
12   for the County of Shasta;                   )
     DETECTIVE JEREMY ASHBEE,                    )
13   individually and in his                     )
     individual capacity as Sheriff              )
14   for the County of Shasta;                   )
     SHASTA DISTRICT FAIR AND EVENT              )
15   CENTER, a district agricultural             )
     association; COUNTY OF SHASTA;              )
16   SHASTA COUNTY SHERIFF'S                     )
     DEPARTMENT; Melanie Silva, in               )
17   her individual capacity; BJ                 )
     MACFARLANE, in his individual               )
18   capacity; and DOES 1 through                )
     10,                                         )
19                                               )
                      Defendants.                )
20   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                           ---oOo-
21                 MONDAY, NOVEMBER 13, 2023
22                                9:03 a.m.
23               VIDEOTAPED DEPOSITION OF KATHIE MUSE
24                                 ---oOo---
25           Reported by:      CAROL J. CHASE, CSR No. 13538

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                Case 2:22-cv-01527-DAD-AC Document 61-6 Filed 03/06/24 Page 4 of 14


                                              KATHIE MUSE


            1                What is your cell phone number and your
            2     carrier?
            3        A       My personal cell phone?
            4        Q       Whoever you were speaking with about these
11:54:46    5     events, whatever number you used?
            6        A                     9107.
            7        Q       Okay.     And what's your carrier?
            8        A       Verizon.
            9        Q       Verizon.      Okay.    Okay.    All right.     Did you
11:55:07 10       ever speak with a Chad Fowler in -- in relation to
           11     Jessica removing Cedar?
           12        A       No.
           13        Q       No.    You know who he is, though, correct?
           14        A       Yes.
11:55:18 15          Q       Okay.     All right.      Have you ever met him?
           16        A       Yes.
           17        Q       Okay.     All right.      And you re- -- did you
           18     reach out to him at all?
           19        A       Yes.
11:55:24 20          Q       Okay.     And did he not respond?
           21        A       I did talk to him once.
           22        Q       You just testified a moment ago you didn't
           23     speak with him.       You did speak with him.
           24        A       No.    That's not what you asked me when you
11:55:36 25       asked me did I speak with him.

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                                     Redding, California (530)246-0942
                Case 2:22-cv-01527-DAD-AC Document 61-6 Filed 03/06/24 Page 5 of 14


                                               KATHIE MUSE


            1     property -- or the -- or 4-H barbecue's property or
            2     whoever's property is it.          Why are you waiting
            3     before the DA tells you what to do?
            4        A       Because we were told not to depose of the
13:45:38    5     goat until they told us to.
            6        Q       Who told you had not to dispose of the
            7     goat?
            8        A       The sheriff's and the DA's office.
            9        Q       They told you not to dispose of the goat?
13:45:47 10          A       Correct.
           11        Q       Okay.     And when about was that?
           12        A       I don't know.
           13        Q       Before this text?
           14        A       I'm assuming it was before the text,
13:45:53 15       because it was after the barbecue.
           16        Q       Okay.     Okay.    So sometime between July 9th
           17     and July 11th you're told by the sheriff and the DA
           18     not to -- not to kill Cedar?
           19        A       Correct.
13:46:05 20          Q       Okay.     Okay.    Did they tell you or B.J.?
           21        A       B.J.
           22        Q       B.J.    Okay.     And he communicated to you.
           23     Okay.    Okay.    All right.      Okay.    So -- so -- okay.
           24                Did you know of that through any other way
13:46:28 25       other than this text?

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                Case 2:22-cv-01527-DAD-AC Document 61-6 Filed 03/06/24 Page 6 of 14


                                              KATHIE MUSE


            1     you assume he was -- was figuring out before --
            2        A       I --
            3        Q       -- you went?
            4        A       -- have no clue.
13:50:53    5        Q       Okay.     Did the DA ever tell you, green
            6     light, you guys can go through with the slaughter?
            7        A       They did not tell me that, no.
            8        Q       Did they tell B.J.?
            9        A       Yes.
13:51:04 10          Q       Okay.     The DA did tell B.J.?
           11        A       I don't know if it was the DA.
           12        Q       Okay.     But someone from law enforcement in
           13     your mind did.       So either the sheriff's, the DA; is
           14     that what you're telling me?
13:51:11 15          A       Correct.
           16        Q       Okay.     Did you think at that point in time
           17     if they had to do all of that that ownership might
           18     be in question?
           19        A       No.
13:51:17 20          Q       No?    Why not?
           21        A       Because I -- in my mind in my opinion, the
           22     barbecue was the one who owned the goat.
           23        Q       Okay.     But if they had -- if the DA and the
           24     sheriffs presumably had to go through some analysis
13:51:34 25       to figure out who did, did that -- did that tell you

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                Case 2:22-cv-01527-DAD-AC Document 61-6 Filed 03/06/24 Page 7 of 14


                                              KATHIE MUSE


            1     their company.
            2        Q       Oh, why -- why is it a shit show?
            3        A       Because they're very disorganized.
            4        Q       Okay.     All right.      Okay.    All right.     And
13:52:26    5     then you write, "Good news finally."              Yes, Cedar is
            6     dead.    Awesome.
            7        A       No, that's not what I thought.
            8        Q       What did you mean by that "Good news
            9     finally" then?
13:52:39 10          A       That there was going to be finally an end
           11     to this.
           12        Q       Ah, okay.      All right.      "Yes, they have been
           13     that way" -- now, you're talking about Bowman's
           14     here, right?      "They have been that way for years
13:52:52 15       always amazed they are still in business."               Okay.
           16     You are -- the second sentence is talking about
           17     Bowman, I assume, yes?
           18        A       Yes.
           19        Q       Okay.     Then please "don't forget to save
13:53:02 20       the ear tags."       Did you -- did you ever receive
           21     Cedar's ear tags?
           22        A       No.
           23        Q       Who has them?
           24        A       My understanding is B.J. has 'em.
13:53:10 25          Q       Okay.     Why would -- why would you want them

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                Case 2:22-cv-01527-DAD-AC Document 61-6 Filed 03/06/24 Page 8 of 14


                                              KATHIE MUSE


            1     saved?
            2        A       Because we were told to make sure we saved
            3     the ear tags.
            4        Q       Who told you that?
13:53:21    5        A       I -- I was not told that.           I was told from
            6     B.J. that the DAs and the sheriffs office, I don't
            7     know which department, had told him to make sure
            8     that we save the ear tags.
            9        Q       Okay.     Do you know when the sheriffs told
13:53:35 10       him that?
           11        A       No.
           12        Q       Okay.     How were you told?
           13        A       B.J. told me.
           14        Q       B.J. told you.        Do you know when he told
13:53:41 15       you?
           16        A       No.
           17        Q       Okay.     Was it -- it must have been in
           18     person or over the phone, though, because it's not
           19     on this text chain.
13:53:49 20          A       Yes.
           21        Q       About -- this is July 28th.            Do you know
           22     about how much before this period of time you
           23     knew -- knew that?
           24        A       I was assuming that it was when they told
13:53:58 25       us that we could have the -- the goat butchered.

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                Case 2:22-cv-01527-DAD-AC Document 61-6 Filed 03/06/24 Page 9 of 14


                                              KATHIE MUSE


            1     that you learned -- or you inferred from this
            2     statement that the DA was okay with it.                Is that
            3     your testimony?
            4        A       Yes.
13:54:59    5        Q       Okay.     So B.J. never told you over the
            6     phone.    Fernandez never told you.           Sheriff never --
            7        A       Not that I recall, no.
            8        Q       -- told you.       None of the DAs ever told
            9     you.    Okay.   All right.       Okay.    All right.
13:55:10 10                  And B.J. still has the ear tags to your
           11     knowledge?
           12        A       To my knowledge, yes.
           13        Q       Okay.     So Cedar was alive till the 28th.
           14     Okay.    And what -- what had hap -- what happened to
13:55:21 15       him afterwards after he was killed?
           16        A       He was given back to the Shasta Live- --
           17     Junior Livestock Auction board.            He was given back
           18     to the Junior Livestock Auction.
           19        Q       What?     As cuts?
13:55:40 20          A       I'm assuming.
           21        Q       Well, it's your -- you're claiming it's
           22     your goat for the fair.          What happened to your
           23     property or to the fair's property?
           24        A       They replaced it to me for the barbecue.
13:55:52 25       The fair board or the Junior Livestock Auction

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                Case 2:22-cv-01527-DAD-AC Document 61-6 Filed 03/06/24 Page 10 of 14


                                               KATHIE MUSE


            1     replaced that fair to us -- or replaced Cedar so
            2     that we had a goat at the auction.
            3         Q       I see.     So Cedar was just given back.          Is
            4     he in a freezer somewhere or was he served or --
13:56:08    5         A       I have no --
            6         Q       -- what?
            7         A       And he was not served --
            8         Q       So he --
            9         A       -- at the barbecue.
13:56:13 10           Q       So did he even go to any of -- anyone's
           11     plate, or is he -- was he just killed to go back to
           12     Shasta -- to the fair as reimbursement?
           13         A       I don't know what happened.            My
           14     understanding, what I was told was he went back to
13:56:28 15       somebody that had a problem with another goat that
           16     had been butchered.         So we, in turn, replaced Cedar
           17     with that goat.
           18         Q       Okay.     So Cedar went out -- was replacement
           19     meat for someone else?
13:56:41 20           A       Yes.
           21         Q       Okay.     When you say that the Junior
           22     Livestock Auction, you -- you mean the -- you mean
           23     the -- the fair, correct?
           24         A       Well, I call it the Junior Livestock
13:56:54 25       Auction.     I don't know how they -- I don't know what

                                           Challe, Fisher & Morfin                     205
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                Case 2:22-cv-01527-DAD-AC Document 61-6 Filed 03/06/24 Page 11 of 14


                                                KATHIE MUSE


            1     green light to move forward with a slaughter or --
            2     or something from the -- the DA, correct -- or the
            3     DA or the sheriff's, correct?
            4         A       Correct.
14:47:39    5         Q       All right.      And I might have asked you this
            6     and I'm sorry.        But what barbecue, if it was a
            7     barbecue, I'm not sure, but what barbecue did Cedar
            8     ultimately get swapped out for?             If it wasn't a
            9     barbecue, correct me, but you said he was swapped
14:47:54 10       out for some other event with -- do you recall what
           11     I'm talking about?         You said -- I said where did his
           12     cuts go, and you said he was swapped in because some
           13     other goat wasn't available.
           14         A       To one of the buyers at the Junior
14:48:05 15       Livestock Auction.
           16         Q       Oh, it was a buyer --
           17         A       Yeah.
           18         Q       -- not an actual event?
           19                 Okay.     Okay.    I'm sorry.      I thought -- I
14:48:09 20       misunderstood.        I thought it was another barbecue or
           21     something like that.          Okay.    So he just went to an
           22     individual -- to a private -- a private party then
           23     is your understanding?
           24         A       My understanding, yes.
14:48:18 25           Q       Okay.     Do you know who that private party

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                Case 2:22-cv-01527-DAD-AC Document 61-6 Filed 03/06/24 Page 12 of 14


                                               KATHIE MUSE


            1     was?
            2         A       No.
            3         Q       Okay.     Do you know who would know?
            4         A       Probably the Shasta District Fair.
14:48:30    5         Q       Okay.     Do you know who there would know in
            6     particular at the fair --
            7         A       Excuse me.      Can you say that again?
            8         Q       Who at the fair would be -- what person at
            9     the fair would know?
14:48:50 10           A       Probably Melanie.
           11         Q       Probably Melanie.         All right.        Okay.   So
           12     and then you -- your first text chain that we have
           13     with the -- the ones that are not on your phone
           14     beginning on August 31st with Fernandez and that was
14:49:06 15       the first -- those are the first -- were there any
           16     texts before that point that you can recall?
           17         A       I don't remember.
           18         Q       Okay.     All right.      Okay.    So prior to that
           19     point in time -- prior to August 31st, which is the
14:49:17 20       day the lawsuit was filed, you were -- I'm assuming
           21     during that time you were having B.J. speak with
           22     either the sheriff -- we didn't know which
           23     sheriff -- but you're -- you're having B.J. speak
           24     with the sheriff for you or the DA and you didn't
14:49:35 25       reach out to them beforehand before --

                                           Challe, Fisher & Morfin                     236
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     Case 2:22-cv-01527-DAD-AC Document 61-6 Filed 03/06/24 Page 13 of 14




 1                           PENALTY OF PERJURY
 2
 3                 I, the undersigned, hereby certify that I
 4     have read the foregoing deposition, that I know the
 5     contents thereof, and I declare under penalty of
 6     perjury under the laws of the State of California
 7     that the foregoing is true and correct.
 8
 9                 Executed on ________________________, 2023.
10
11
12
13                               _______________________________
                                 KATHIE MUSE
14                                 ---o0o---
15
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Case 2:22-cv-01527-DAD-AC Document 61-6 Filed 03/06/24 Page 14 of 14
